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         ORDERED in the Southern District of Florida on May 29, 2020.




                                                            Erik P. Kimball, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________




                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                      WEST PALM BEACH DIVISION

         In re:

         BRUCE STEVEN FRANK,                                     Case No. 19-15509-EPK

                  Debtor.                                        Chapter 11

         _____________________________________/

                       AGREED ORDER GRANTING AGREED EX PARTE MOTION
                         TO EXTEND DEADLINES TO FILE PROOF OF CLAIM,
                               OBJECT TO DEBTOR'S EXEMPTIONS
                          AND OBJECT TO DISCHARGEABILITY OF A DEBT

                  THIS MATTER came before the Court without hearing upon the Agreed Ex Parte Motion

         to Extend Deadlines to File a Proof of Claim, Object to Debtor’s Exemptions and Object to

         Dischargeability of a Debt (the “Agreed Motion”) [ECF No. 244]. The Court, having reviewed

         the Agreed Motion, being advised of the consent of Bruce Frank (the “Debtor”), and being




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otherwise duly advised in the premises, hereby:

       ORDERS AND ADJUDGES that:

       1.      The Agreed Motion is GRANTED.

       2.      The deadlines by which Frank Investments, Inc., a Florida Corporation, Frank

Investments, Inc., a New Jersey Corporation, and Frank Theaters Management, LLC may : (a) file

a proof of claim, (b) file objections to the Debtor’s claimed exemptions; and/or (c) file a complaint

objecting to the dischargeability of a certain debt under 11 U.S.C. § 523 are extended through and

including July 20, 2020.

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SUBMITTED BY:

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Patrick Dorsey, Esq. is directed to serve copies of this Order upon all interested parties and to
file a certificate of service with the Court.




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